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                                         ORDER
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                                                   ORDER
                                       Based on the parties' stipulation, IT IS
                                HEREBY     ORDERED
                                       HEREBY      ORDEREDthat thisthat
                                                                     action
                                                                        this is
                                                                              action
                                DISMISSED      with prejudice,
                                       is DISMISSED              each side each
                                                          with prejudice,     to bear
                                its ownside
                                        feestoand
                                                bear its own fees and costs. is
                                                  costs.  The  Clerk   of Court
                                instructed
                                       ThetoClerk
                                              CLOSE     this case.
                                                   of Court   is instructed to
                                       CLOSE this case.
                                 __________________________________
                                 UNITED STATES DISTRICT JUDGE
                                 Dated: October 18, 2016.
